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                          IN THE UNITED STATES BANKRUPTCY COURT

                                FOR THE DISTRICT OF DELAWAR


In re:                                          )      Chapter 11
                                                )
W. R. GRACE & CO., et aI.,                      )      Case No. 01-01139 (JKF)
                                                )      (Jointly Administered)
                           Debtors.             )


                                      CERTIFICATE OF SERVICE ~
                  I, James E. O'Neill, hereby certify that on the IJ day of June, 2008, I caused a

copy of the following documents to be served on the individuals on the attached service list in

the manner indicated:

                   NOTICE OF DEBTORS' OBJECTION TO THE UNSECURD CLAIMS
                   ASSERTED UNER THE DEBTORS' CREDIT AGREEMENTS
                   DATED AS OF MAY 14,1998 AND MAY 5,1999;

                   DEBTORS' OBJECTION TO THE UNSECURED CLAIMS
                   ASSERTED UNDER THE DEBTORS' CREDIT AGREEMENTS
                   DATED AS OF MAY 14,1998 AND MAY 5,1999; AND

                  (PROPOSED) ORDER.




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